Case 1:22-cr-20124-CMA Document 231 Entered on FLSD Docket 01/30/2024 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-20124-CR-ALTONAGA(s)(s)

  UNITED STATES OF AMERICA,

                Plaintiff,

  vs.

  JASON WAGNER,
      a/k/a “Ace,”
      a/k/a “King Ace,

        Defendant.
  ___________________________________/

                   UNITED STATES’ SENTENCING MEMORANDUM

         The United States of America, by and through the undersigned Assistant United States

  Attorney, hereby files this Sentencing Memorandum to assist the Court in fashioning the

  appropriate sentence for the Defendant, Jason Wagner. For the reasons stated herein, the

  government recommends that this Court impose a sentence of 40 years’ imprisonment.

         I.     OVERVIEW

         As established at trial, the Defendant is a manipulative and violent pimp who has

  preyed upon vulnerable woman and girls since as early as 2003 for his own sexual gratification

  and financial gain. Indeed, the only extended period of time that the Defendant hasn’t

  profited from the sexual exploitation of women in the last twenty years was while he was

  incarcerated for kidnapping and beating one of his many victims, Victim B. Nevertheless, he

  was undeterred by his incarceration and began trafficking, Victim 2, and promoting the
Case 1:22-cr-20124-CMA Document 231 Entered on FLSD Docket 01/30/2024 Page 2 of 6




  prostitution of several other women, while on conditional supervised release. This conduct

  demands a 40-year sentence.

         II.     LEGAL ANALYSIS

         When imposing a sentence, district courts must first calculate the applicable

  Sentencing Guidelines range and then consider and balance the sentencing factors set forth in

  Title 18, United States Code, Section 3553(a) to determine a “reasonable” sentence. United

  States v. Talley, 431 F.3d 784, 786 (11th Cir. 2005). Specifically, § 3553(a) provides that

  courts must consider the nature and circumstances of the offense, as well as the history and

  characteristics of the defendant. Additional factors outlined in § 3553(a) include the need for

  the sentence to reflect the seriousness of the offense; to promote respect for the law; to provide

  just punishment for the offense; to afford adequate deterrence to criminal conduct; to protect

  the public from further crimes of the defendant; the kinds of sentences available; the

  sentencing range; and the need to avoid unwarranted sentence disparities among defendants

  with similar records who have been found guilty of similar conduct. 18 U.S.C. § 3553(a).

  After considering the § 3553(a) factors here, this Court should impose a 40-year sentence.

         III.    ARGUMENT

                 a. Nature and Circumstances of the Offenses and History and
                    Characteristics of the Defendant

         The nature and circumstances of the Defendant’s crimes demonstrate that he targeted

  his victims based on their vulnerabilities and had a callous indifference to the harm he caused

  them. As illustrated through the testimony and evidence at trial, the Defendant deliberately

  preyed upon the most vulnerable women and girls in our society. Victim C gave a heart

  wrenching account of being “sold” to the Defendant when she was 17-years old after coming

  to Miami on a trip with several acquaintances. She described how the Defendant forced her
Case 1:22-cr-20124-CMA Document 231 Entered on FLSD Docket 01/30/2024 Page 3 of 6




  to have sex with him and then to engage in commercial sex with multiple men, despite having

  told him that she was a minor.

         Similarly, the Defendant picked Victim B, a 15-year-old runaway, up off the street,

  developed a sexual relationship with her, and then used that relationship to force her to work

  in strip clubs and engage in commercial sex. The Defendant even went so far as to provide

  Victim B with the personal identifying information of an adult woman so that Victim B could

  get a Florida driver’s license that falsely indicated that she was an adult. See Gov. Trial

  Exhibits 57, 58. Victim B testified that the Defendant beat her regularly and also raped her.

  Moreover, the Defendant impregnated her and struck her while pregnant, forcing her to go

  into early labor. Victim B gave birth prematurely to a baby boy who died in the hospital.

  Victim B has advised that after the baby died, the Defendant deleted her photographs of the

  child, erasing the only memories she had of him.

         Victim 2 testified that she was sexually abused as a child and has struggled with

  substance abuse throughout her adult life, facts that the Defendant was aware of. Armed with

  this information, the Defendant trafficked Victim 2 in 2021, knowing that she had just

  completed a drug rehabilitation program, and then provided her with molly multiple times a

  day while he trafficked her.

         Finally, Victim 3 testified the Defendant offered her a place to stay when she was only

  19 years old, jobless, and getting evicted. Once with him, he quickly forced her to engage in

  commercial sex, keeping her locked in his one-room apartment. When she was finally able

  to escape, he found her using a ruse, slapped her, and took all her money.
Case 1:22-cr-20124-CMA Document 231 Entered on FLSD Docket 01/30/2024 Page 4 of 6




                 b. The Need for the Sentence Imposed to Reflect the Seriousness of the
                    Offense, to Afford Adequate Deterrence to Criminal Conduct, and to
                    Protect the Public from Further Crimes of the Defendant

         Next, the need for the sentence imposed to reflect the seriousness of the offense, to

  afford adequate deterrence to criminal conduct, and to protect the public from further crimes

  of the Defendant all support the imposition of a 40-year sentence.                See 18 U.S.C.

  § 3553(a)(2)(a)-(c). Here, the Defendant’s sex trafficking crimes are undoubtedly serious as

  Congress has made them punishable by at least 15 years’ imprisonment with a maximum of

  life imprisonment. 18 U.S.C. § 1591(b)(1). Moreover, the fact that the Defendant trafficked

  Victim 2 while he was on conditional supervised release for kidnapping and beating Victim B clearly

  demonstrates that he was undeterred by his prior 12-year prison sentence. See Gov. Trial

  Exhibits 44, 45, 46, 56, 75F, 75F(1); see also DE 228 at 7-57 (Business records from the

  Florida Department of Corrections showing that the Defendant was on conditional

  supervised release from August 23, 2020, through December 16, 2021). Thus, this Court

  should conclude that the only way to protect the public from the Defendant engaging in

  additional criminal activity is by another lengthy period of incarceration.

                 c. The Sentencing Range and the Need to Avoid Unwarranted Sentence
                    Disparities

         Lastly, the Defendant’s sentencing range and the need to avoid unwarranted sentence

  disparities also supports a 40-year sentence. 18 U.S.C. § 3553(a)(4)(A), (6). As previously

  mentioned, the Defendant faces a mandatory minimum period of 15 years’ imprisonment

  with a maximum period of imprisonment of life. 1 In similar cases, courts have imposed



  1
    At the time of this Sentencing Memorandum, the Defendant’s guideline range has not been
  finalized as several enhancements are still at issue. Nevertheless, the government anticipates
  that the Defendant’s guideline range will be 360 months to life imprisonment.
Case 1:22-cr-20124-CMA Document 231 Entered on FLSD Docket 01/30/2024 Page 5 of 6




  comparable sentences. For example, in United States v. Hamidullah, 847 F. App’x 659 (11th

  Cir. 2021), the Eleventh Circuit upheld a 40-year sentence in a case with strikingly similar

  facts. In Hamidullah, the Defendant pled guilty to one count of sex trafficking by force, fraud,

  and coercion and related offenses for trafficking three women. Id. at 661. During his plea

  hearing, the defendant admitted to advertising the women for commercial sex on Internet

  webpages. Id. The defendant also admitted to assaulting one of his victims, retaining all of

  her prostitution proceeds, taking her cell phone, confiscating all of her money, having her

  tattooed with the word “Daddy,” and installing an alarm on the apartment door without

  providing her the access code. Id. at 661-62. The defendant was sentenced to 482 months’

  imprisonment, which the Eleventh Circuit upheld on appeal. Id. at 670-71.

         Likewise, the Defendant in the instant case advertised his victims online, held them

  captive, confiscated all of the proceeds from their commercial sex, and branded Victim B.

  Here, as in Hamidullah, a 40-year sentence is appropriate. See also United States v. Gatlin,

  No. 19-14969, 2024 WL 57459, at *15 (11th Cir. Jan. 5, 2024) (upholding a life sentence for

  a defendant who trafficked a single minor that he also battered and engaged in sex acts with);

  United States v. Fields, 625 F. App’x 949 (11th Cir. 2015) (upholding a 405-month sentence

  where the defendant was convicted of sex trafficking multiple adults by providing them with

  addictive drugs).   Accordingly, a 40-year sentence is in line with sentences received by

  defendants who have been found guilty of similar conduct. See 18 U.S.C. § 3553(a)(6).
Case 1:22-cr-20124-CMA Document 231 Entered on FLSD Docket 01/30/2024 Page 6 of 6




        IV.    CONCLUSION

        For the foregoing reasons, the government respectfully recommends the Defendant be

  sentenced to 40 years’ imprisonment.

                                          Respectfully submitted,

                                          MARKENZY LAPOINTE
                                          UNITED STATES ATTORNEY

                                    BY:   Lacee Elizabeth Monk_____________
                                          LACEE ELIZABETH MONK
                                          Assistant United States Attorney
                                          Florida Bar No. 100322
                                          99 N. E. 4th Street
                                          Miami, Florida 33132-2111
                                          TEL (305) 961-9427
                                          Lacee.Monk@usdoj.gov
